Where it was the duty of an employee to operate a draw section of a street or highway bridge over a navigable stream, and on a particular occasion, after opening such draw section or span to permit a vessel to pass, the employee for some unaccountable reason fell to the water below, receiving injuries from which he died, the Industrial Board of this State had jurisdiction to determine a claim of the widow of such employee, based on the Georgia workmen's compensation statute, — assuming that such jurisdiction otherwise existed. Prima facie the deceased at the time of his death was not engaged in a maritime act, and jurisdiction was not vested in the Federal court.
                       No. 13582. APRIL 17, 1941.
The Court of Appeals (in Case No. 28364) certified the following question:
"Where a widow files a claim for compensation against the City *Page 52 
of Brunswick and the County of Glynn, as employers of her husband, under the workmen's compensation act of this State, on account of his accidental death, and the evidence shows that the deceased was employed as a bridge tender on the Brunswick-St. Simons highway, which bridge crosses the Back river, a stream navigable to the sea and over which the admiralty and maritime jurisdiction granted to the Federal Government by the constitution of the United States extends, which bridge was erected with the consent of the United States Government requiring that provision be made for keeping the stream navigable at the bridge by means of a draw or span in the center of the bridge, which, upon being opened, would permit boats to pass through, the draw of which bridge was operated by a lever in its center and so constructed as to be capable of being turned horizontally, the ends of the draw or span being equally distant from the lever in the center, and the draw or span, in its turned position, leaving a clearance of about 108 feet, on each side, between it and the bridge from which it is disengaged; that the bridge tender's duties consisted in opening and closing the draw; that the draw, when closed, and in immediate connection with the bridge, enabled traffic from land to pass over the bridge from Brunswick to St. Simons Island, and when open permitted boats to pass through the clearance up and down the river, and, while boats were passing through, relieved the tender from any duty with respect to traffic from land; that on a foggy morning, after he had come on duty, the deceased as a part of his employment pulled the lever in the center of the draw and opened the draw to permit a boat to pass through, and, while the boat was entering the opening or clearance thus made and being maintained by the deceased for the passage of the boat, the deceased, while rolling a cigarette, walked away from the center of the draw to one of its ends, from which, for some unaccountable reason, he fell to the water below and was so severely injured that he died in a few days as the result of his injuries: (1) was the deceased's injury sustained in a matter of such local character at the time as to give the Industrial Board of this State jurisdiction of the claim of his widow, assuming that its jurisdiction otherwise exists, or (2) under these circumstances has the Federal court exclusive jurisdiction for the reason that the deceased was, at the time of his injury, engaged in a maritime act? See Maryland CasualtyCo. v. Grant, *Page 53 169 Ga. 325 (150 S.E. 424); The Troy, 208 U.S. 321 [28 Sup. Ct. 416,52 L. ed. 512]; Cleveland Terminal R. R. v. Steamship Co., 208 U.S. 316
[28 Sup. Ct. 414, 52 L. ed. 508, 13 Ann. Cas. 1215]; Southern Pacific Co. v. Jensen, 244 U.S. 205 [37 Sup. Ct. 524,61 L. ed. 1086, L.R.A. 1918C, 451, Ann. Cas. 1917E, 900]; Knickerbocker Ice Co. v. Stewart, 253 U.S. 149
[40 Sup. Ct. 438, 64 L. ed. 834, 11 A.L.R. 1145]; Grant Smith-Porter Ship Co. v. Rohde, 257 U.S. 469 [42 Sup. Ct. 157, 66 L. ed. 321, 25 A.L.R. 1008]; Industrial Com. v. Nordenholt Cor., 259 U.S. 263
[42 Sup. Ct. 473, 66 L. ed. 933, 25 A.L.R. 1013]; Millers' Underwriters v. Braud, 270 U.S. 59 [46 Sup. Ct. 194,70 L. ed. 470]; Smith  Son v. Taylor, 276 U.S. 179 [48 Sup. Ct. 228,72 L. ed. 520]; Northern Coal Co. v. Strand, 278 U.S. 142
[49 Sup. Ct. 88, 73 L. ed. 232]; Minnie v. Port Huron Co., 295 U.S. 647
[55 Sup. Ct. 884, 79 L. ed. 1631]; Carlin Const. Co. v.
Heaney, 299 U.S. 41 [57 Sup. Ct. 75, 81 L. ed. 27]."
Under the facts recited in the question, the injury resulted from a matter of such local character as to give jurisdiction to the Industrial Board. The bridge was constructed over a navigable river, by consent of the government, the draw portion of it being intended, not as aid to navigation, but as a required means of preventing interference therewith. The purpose of the bridge was travel or commerce on land, not maritime travel or commerce. As between the employers and the employee, the bridge and every part of it is to be considered as land, and from the question propounded it prima facie appears that whatever caused the employee to fall was an occurrence that took place on land. This being true, the fact that the employee fell from the bridge into the river does not make the case one of maritime jurisdiction. Cleveland Terminal  Valley Railroad Co. v.
Cleveland Steamship Co., 208 U.S. 316 (supra); Smith  Son Inc.v. Taylor, 276 U.S. 179 (supra); Minnie v. Port Huron Terminal Co., 295 U.S. 647 (supra). The object of the draw section was merely to prevent the bridge from obstructing navigation and to leave it free, as it was before. The employee was operating the draw solely for this purpose, an entirely different matter from aiding navigation or engaging *Page 54 
in a maritime act. The parties, the employers and the employee, manifestly contracted with reference to the State statutes; their rights and liabilities had no direct relation to navigation; and the application of the local law can not impinge upon any maritime rule. Grant Smith-Porter Ship Co. v. Rohde, 257 U.S. 469
(supra); Millers Indemnity Co. v. Brand, 270 U.S. 59
(supra); and see especially Carlin Construction Co. v. Heaney,299 U.S. 41 (supra); Cleveland Terminal  Valley Railroad Co.v. Cleveland Steamship Co., 208 U.S. 316 (supra).
It may be true that if the owner or owners of such a bridge should, through their agents or employees, so maintain it as to cause injury to a vessel or to some person being thereon, the liability would be maritime. Steel All Welded Boat Co. v.
Boston (D.C. Mass., 1937), 18 F. Supp. 421. In the instant case, however, the alleged liability is a matter for determination only as between the owners of the bridge and their employee; and under the facts recited, the Industrial Board had jurisdiction, "assuming that its jurisdiction otherwise exists." The case differs on its facts from Maryland Casualty Co. v.Grant, 169 Ga. 325 (supra), and other cases relied on by counsel for the employers, in each of which the locus and the other circumstances were such as to involve maritime jurisdiction.
All the Justices concur.